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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

JEREMY FAULK,                                       §
                                                    §
                Plaintiff,                          §
                                                    §
v.                                                  §                    6:18-CV-341-RP
                                                    §
BAYLOR UNIVERSITY,                                  §
                                                    §
                Defendant.                          §

                                        FINAL JUDGMENT

        On March 1, 2019, the parties dismissed all claims in this case without prejudice by joint

stipulation of dismissal pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). (Dkt. 16).

“Stipulated dismissals under Rule 41(a)(1)(A)(ii) . . . require no judicial action or approval and are

effective automatically upon filing.” Yesh Music v. Lakewood Church, 727 F.3d 356, 362 (5th Cir. 2013).

        As nothing remains to resolve, the Court renders Final Judgment pursuant to Federal Rule

of Civil Procedure 58.

        All pending motions in this case are DISMISSED AS MOOT.

        IT IS ORDERED that the case is CLOSED.

        IT IS FINALLY ORDERED that each party bear its own costs.



        SIGNED on March 4, 2019.




                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE
